                      Case 4:20-cv-04875-JSW Document 59 Filed 04/29/21 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          California


                          Walter Scott                                            )
                                                                                  )
                                                                                  )
                                                                                  )
                            Plaintiff(s)                                          )
                                                                                  )
                                v.                                                                     Civil Action No. 4:20-cv-04875-JSW
                                                                                  )
        TESORO REFINING & MARKETING CO.,                                          )
              ANDEAVOR, LLC, et al                                                )
                                                                                  )
                                                                                  )
                           Defendant(s)                                           )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Joe Gomes Trucking, Inc.
                                           Registered agent: Dorene Lee Gomes
                                           35943 CR24
                                           Woodland, California 95695




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Anthony G. Buzbee                        Adante Pointer
                                           Ryan S. Pigg                                                     Pointer and Buelna, LLP
                                           The Buzbee Law Firm                                              1901 Harrison St # 1140, Oakland, CA 94612
                                           JP Morgan Chase Tower
                                           600 Travis Street, Suite 7300
                                           Houston, Texas 77002

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:             04/30/2021
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